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Wes USAO 2019R00251 BIS

IN THE UNITED STATES DISTRICT COURT 7/9 JUL | P 345
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA *

Ao

v. CRIMINAL NO./Zp Lf i CY S40
(Enticement to Travel Interstate
for Purposes of Prostitution,

Defendant * 18 U.S.C. § 2422(a);
* Forfeiture, 18 U.S.C. § 2428)

*

ROBERT CARL DITENNO,

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INDICTMENT

COUNT ONE

(Enticement to Travel Interstate for Purposes of Prostitution)

The Grand Jury for the District of Maryland charges that:

Between at least in or about November 2016 and at least in or about June 2017, in the
District of Maryland and elsewhere, the defendant,

ROBERT CARL DITENNO,

attempted to and did knowingly persuade, induce, entice, and coerce any individual to travel in
interstate and foreign commerce to engage in prostitution and sexual activity for which any
person can be charged with a criminal offense; to wit, the defendant knowingly attempted to and
did persuade, induce, entice, and coerce Victim | to travel between Maryland, the District of

Columbia, Virginia, South Carolina, and elsewhere to engage in prostitution.

18 U.S.C. § 2422(a)
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COUNT TWO
(Enticement to Travel Interstate for Purposes of Prostitution)

The Grand Jury for the District of Maryland further charges that:

Between at least in or about November 2016 and at least in or about April 2017, in the
District of Maryland and elsewhere, the defendant,

ROBERT CARL DITENNO,

attempted to and did knowingly persuade, induce, entice, and coerce any individual to travel in
interstate and foreign commerce to engage in prostitution and sexual activity for which any
person can be charged with a criminal offense; to wit, the defendant knowingly attempted to and
did persuade, induce, entice, and coerce Victim 2 to travel between Maryland, the District of

Columbia, Virginia, and elsewhere to engage in prostitution.

18 U.S.C. § 2422(a)
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COUNT THREE
(Enticement to Travel Interstate for Purposes of Prostitution)

The Grand Jury for the District of Maryland further charges that:

Between at least on or about May 16, 2017, and on or about June 1, 2017, in the District
of Maryland and elsewhere, the defendant,

ROBERT CARL DITENNO,

attempted to and did knowingly persuade, induce, entice, and coerce any individual to travel in
interstate and foreign commerce to engage in prostitution and sexual activity for which any
person can be charged with a criminal offense; to wit, the defendant knowingly attempted to and
did persuade, induce, entice, and coerce Victim 3 to travel between Maryland, the District of

Columbia, South Carolina, and elsewhere to engage in prostitution.

18 U.S.C. § 2422(a)
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FORFEITURE ALLEGATION

 

The Grand Jury for the District of Maryland further finds that:

1. Pursuant to Fed. R. Crim. P. 32.2, notice is hereby given to the defendant that the
United States will seek forfeiture as part of any sentence in accordance with 18 U.S.C. § 2428,
21 U.S.C. § 853(p), and 28 U.S.C. § 2461(c), in the event of the defendant’s convictions under
Counts One, Two, and Three of this Indictment.

Zi As aresult of the offenses set forth in Counts One through Three of this
Indictment, the defendant,

ROBERT CARL DIENNO,

shall forfeit to the United States of America:

a. Any property, real or personal, used or intended to be used to commit or to
facilitate the commission of any violation of Chapter 117 of Title 18 of the United States Code;
and

b. Any property, real or personal, constituting or derived from any proceeds
that such person obtained, directly or indirectly, as a result of such violation.

a If, as a result of any act or omission of the defendants, any such property subject

to forfeiture:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be divided

without difficulty,
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the United States of America, pursuant to 21 U.S.C. § 853(p), shall be entitled to forfeiture of

substitute property.

18 U.S.C. § 2428
28 U.S.C. § 2461

 

21 U.S.C. § 853
Rola k K Myr QPS
Robert K. Hur .
United States Attorney
A TRUE BILL:
SIGNATURE REDACTED i sos
Foreperson
